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  5
  6   Attorneys for Plaintiff:
      SPIRIT TEA LLC
  7
                           UNITED STATES DISTRICT COURT
  8
                          CENTRAL DISTRICT OF CALIFORNIA
  9
 10
      SPIRIT TEA LLC, an Illinois          Case No. ____________________
 11   Limited Liability Company,
                                           COMPLAINT FOR DAMAGES AND
 12                   Plaintiff,           INJUNCTIVE RELIEF:

 13   v.                                   (1) False Designation Of Origin/False
                                               Advertising/Unfair Competition (15
 14   UTOPIA ORIENTAL, INC., a                 U.S.C. § 1125(a); and
      California Corporation,              (2) Trademark Infringement and
 15                                            Unfair Competition (Common Law)

 16                   Defendants.          JURY TRIAL DEMANDED

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                                      COMPLAINT
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  1                                      COMPLAINT
  2
            Plaintiff Spirit Tea LLC (“Spirit Tea” or “Plaintiff”) alleges as follows
  3
      against defendant Utopia Oriental, Inc. (“Utopia” or “Defendant”).
  4
                                    NATURE OF ACTION
  5
            1.     Plaintiff brings this action for false designation of origin and unfair
  6
      competition under the Lanham Act (15 U.S.C. § 1125(a)); and for common law
  7
      trademark infringement under California law and unfair competition. Plaintiff seeks
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      injunctive and monetary relief. Plaintiff further seeks, for reasons set forth more
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      fully in its related forthcoming Motion, provisional injunctive relief in the form of a
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      temporary restraining order and a preliminary injunction to prevent Defendant’s
 11
      continued violation of Plaintiff’s rights while this action is pending.
 12
                                            PARTIES
 13
            2.     Plaintiff is a limited liability company formed under the laws of the
 14
      State of Illinois with its principal place of business located at 3431 Fullerton
 15
      Avenue, Chicago, Illinois 60647.
 16
            3.     Upon information and belief, Defendant Utopia is a California
 17
      corporation with its principal place of business located at 121 Homecoming, Irvine,
 18
      California 92602.
 19
                                 JURISDICTION AND VENUE
 20
            4.     This action arises under the Lanham Act (15 U.S.C. § 1051 et seq.)
 21
      and under statutory and common law unfair competition. This Court has subject
 22
      matter jurisdiction over this action pursuant to 28 U.S.C. §§ 1331 and 1338 because
 23
      Plaintiff’s claims arise in part under the Lanham Act and further because they
 24
      constitute unfair competition claims. This Court has supplemental jurisdiction
 25
      pursuant to 28 U.S.C. §§ 1338(b) and 1367 over Plaintiff’s common law trademark
 26
      infringement and unfair competition claim, which arises under the common law of
 27
      the State of California.
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                                            COMPLAINT
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  1         5.     This Court has personal jurisdiction over Defendant because
  2   Defendant is a California corporation.
  3         6.     Venue is proper in the Central District of California under 28 U.S.C.
  4   §§ 1391(b) and (c) because Defendant resides in this District.
  5                 FACTUAL ALLGEATIONS COMMON TO ALL COUNTS
  6         7.     Spirit Tea was founded in 2015 and since that time has continuously
  7   engaged in the business of selecting, marketing, and selling a variety of different
  8   types of tea. In addition to tea, Plaintiff markets and sells related products, devices,
  9   apparatus, and other items.
 10         8.     Plaintiff markets and sells its products throughout the United States,
 11   including, but not limited to, in California and New York.
 12         9.     Plaintiff has been using the trademark SPIRIT TEA in interstate
 13   commerce continuously, prominently, and exclusively, since at least as early as July
 14   1, 2015, to denote the source of its goods, including tea and related products, in the
 15   United States. Attached hereto as Exhibit 1 are a series of images reflecting
 16   Plaintiff’s use in commerce of the SPIRIT TEA mark even prior to July, 2015 (in
 17   March and April, 2015). Upon information and belief, Plaintiff has been so using its
 18   mark since long before Defendant began using any similar mark. During this
 19   period, Plaintiff has committed substantial resources (financial and otherwise) to
 20   developing a widely respected reputation in the tea industry. Thus, before the acts
 21   complained of in this Complaint, members of the general consumer population as
 22   well as specifically those in the tea industry, recognized the SPIRIT TEA mark as
 23   an exclusive source identifier for tea and related products as originating from,
 24   sponsored, or approved by Plaintiff.
 25         10.    Upon information and belief, Plaintiff has the exclusive right to use the
 26   SPIRIT TEA mark in interstate commerce and Plaintiff’s use has been exclusive
 27   since it first adopted the SPIRIT TEA mark, with the exception of unauthorized
 28   uses such as those by Defendant giving rise to this action.
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                                             COMPLAINT
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  1         11.    Plaintiff’s SPIRIT TEA trademark is valid and subsisting and remains
  2   in full force and effect.
  3         12.    Plaintiff has widely advertised, promoted, and marketed goods under
  4   its SPIRIT TEA mark in a wide range of advertising media, including both print
  5   and on-line media, to cultivate and build the strength and consumer recognition of
  6   its SPIRIT TEA mark. Plaintiff has achieved significant success in selling products
  7   bearing its SPIRIT TEA mark. Plaintiff has also built a valuable reputation and
  8   significant goodwill, which consumers associate with the SPIRIT TEA mark.
  9         13.    Plaintiff has filed a U.S. Trademark Application seeking registration of
 10   the mark SPIRIT TEA (U.S. Trademark Application No. 88/253,081; the “‘081
 11   Application”). The ‘081 Application claims a first use in commerce date of July 1,
 12   2015. The ‘081 Application remains pending.
 13         14.    Defendant has recently begun using the mark SPIRITEA in the U.S. in
 14   connection with the marketing and sale of tea and tea-based beverages. More
 15   specifically, the marks being used by Defendant include, among others, SPIRITEA
 16   (non-specific as to stylization) and the following:
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 22   (referred to collectively as the “SPIRITEA marks”).
 23         15.    Defendant has filed a U.S. Trademark Application seeking registration
 24   of the above mark, U.S. Trademark Application No. 88/068,517 (the “‘517
 25   Application”). The ‘517 Application remains pending.
 26         16.    The description of goods set forth in the ‘517 Application indicates
 27   “Tea-based beverages; Tea-based iced beverages; Tea.” Further with regard to the
 28   goods to which the ‘517 Application is directed, the Application designates
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                                           COMPLAINT
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  1   International Classes 30 (Staple Foods) and 43 (Hotel and Restaurant Services).
  2          17.    Plaintiff has initiated an opposition proceeding before the U.S. Patent
  3   and Trademark Office’s Trademark Trial and Appeal Board (“TTAB”) seeking to
  4   prevent the registration that Defendant seeks on the grounds that the use of the
  5   mark will lead to a likelihood of consumer confusion between the mark and
  6   Plaintiff’s SPIRIT TEA mark when used in connection with the marketing and sale
  7   of tea and related products.
  8          18.    Upon the filing of this Complaint, Plaintiff intends to move the TTAB
  9   to suspend said opposition proceeding pending resolution of this action.
 10          19.    Defendant is currently using the SPIRITEA marks in advertising,
 11   offering for sale, and selling tea, tea-based beverages, and other related products,
 12   which use began after Plaintiff’s adoption and use of its SPIRIT TEA mark. By
 13   way of example only, the social media posts contained in Exhibit 2 hereto reflect
 14   such unauthorized and unlawful conduct on the part of Defendant.
 15          20.    Defendant is not authorized to use the SPIRIT TEA mark, or marks
 16   confusingly similar to said mark, in connection with its goods, nor is Defendant
 17   affiliated with Plaintiff.
 18          21.    Defendant’s use of the SPIRIT TEA mark and marks confusingly
 19   similar to such mark for tea and related products is likely to cause confusion,
 20   mistake, and deception such that members of the public, including but not limited
 21   to purchasers of tea and related products specifically, are likely to be confused as to
 22   the affiliation, connection, or relationship between Plaintiff and Defendant, and
 23   confused into believing Defendant’s goods are endorsed by, sponsored by, or
 24   affiliated with Plaintiff, when they are not.
 25          22.    Defendant’s actions create a likelihood of consumer confusion.
 26          23.    Plaintiff seeks both provisional injunctive relief as well as permanent
 27   injunctive relief to stop the irreparable harm caused by Defendant’s marketing and
 28   sales of tea and related products in a manner that infringes on the SPIRIT TEA
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                                            COMPLAINT
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  1   mark. Without an injunction, Defendant will continue to offer tea and related
  2   products that infringe on the SPIRIT TEA mark.
  3                              FIRST CLAIM FOR RELIEF
  4     (False Designation of Origin and Unfair Competition – 15 U.S.C. § 1125(a))
  5         24.    Plaintiff repeats and incorporates herein by reference in their entirety
  6   each and every allegation contained in Paragraphs 1 through 23 above.
  7         25.    Defendant’s acts as alleged herein constitute false designation of origin
  8   and unfair competition in violation of Section 43(a) of the Lanham Act, 15 U.S.C. §
  9   1125(a).
 10         26.    Defendant’s advertising, offering for sale, and sale of goods bearing
 11   the SPIRITEA marks is likely to cause confusion, and to cause mistake, and to
 12   deceive as to the affiliation, connection, or association of Defendant with Plaintiff,
 13   or as to the origin, sponsorship, or approval of Defendant’s goods, in that
 14   purchasers are likely to believe that Plaintiff authorizes or controls the advertising,
 15   offering, or sale of Defendant’s goods described above, or that Defendants are
 16   associated with or authorized by Plaintiff to advertise, offer, or sell those goods.
 17         27.    Defendant’s use in commerce of the SPIRIT TEA mark or marks
 18   confusingly similar to said mark in connection with Defendant’s goods constitutes a
 19   false designation of the origin and/or sponsorship of such goods, and falsely
 20   describes and represents such goods.
 21         28.    Defendant’s conduct constitutes unfair competition that has violated,
 22   and unless restrained and enjoined by this Court will continue to violate, Plaintiff’s
 23   trademark rights, and has caused irreparable harm, damage, and injury to Plaintiff’s
 24   goodwill and business reputation.
 25         29.    Plaintiff has been and continues to be irreparably injured as a result of
 26   Defendant’s infringement and wrongful acts, and has no adequate remedy at law.
 27   Plaintiff is, therefore, entitled to a permanent injunction against further infringing
 28   and unlawful conduct by Defendant.
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                                            COMPLAINT
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  1         30.    Defendant has profited and is profiting by such infringement and
  2   Plaintiff has been and is being damaged by such infringement. Plaintiff is,
  3   therefore, entitled to recover damages from Defendant in an amount to be proved at
  4   trial as a consequence of Defendant’s infringing and unlawful activities.
  5                           SECOND CLAIM FOR RELIEF:
  6         (Common Law Trademark Infringement and Unfair Competition)
  7         31.    Plaintiff repeats and incorporates herein by reference in their entirety
  8   each and every allegation contained in Paragraphs 1 through 30 above.
  9         32.    Defendant’s actions and conduct as alleged herein are likely to cause
 10   confusion, mistake, and deception to consumers as to the affiliation, connection, or
 11   association of Defendant with Plaintiff, and to the origin of Defendant’s goods, and
 12   Plaintiff’s apparent sponsorship or approval of Defendant’s goods.
 13         33.    Defendant’s unauthorized actions and conduct as alleged herein
 14   constitute unfair competition under California common law.
 15         34.    Defendant’s unauthorized actions and conduct constitute direct
 16   infringements of Plaintiff’s trademark rights in violation of California common law.
 17         35.    Defendant has caused and, unless restrained and enjoined by this
 18   Court, will continue to cause irreparable harm, damage, and injury to Plaintiff,
 19   including but not limited to injury to Plaintiff’s goodwill and business reputation.
 20         36.    Plaintiff has suffered, is suffering, and will continue to suffer
 21   irreparable injury for which Plaintiff has on adequate remedy at law. Plaintiff is,
 22   therefore, entitled to a permanent injunction against further infringing conduct by
 23   Defendant.
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                                           COMPLAINT
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  1                                 PRAYER FOR RELIEF
  2
  3         WHEREFORE, Plaintiff prays for an order and judgment against Defendant

  4         as follows:

  5
            1.     That Defendant, its owners, partners, agents, servants, distributors,
      affiliates, employees, representatives, and all those in privity or acting in concert
  6
      with Defendant or on its behalf, be permanently enjoined and restrained from,
  7
      directly or indirectly:
  8
                    a.    Selling, offering to sell, advertising, displaying, or using the
  9
            SPIRIT TEA mark, any derivative thereof, including without limitation
 10
            SPIRITEA, or any other mark similar thereto, alone or in combination with
 11
            other words, names, styles, titles, designs, or marks in connection with the
 12
            sale, advertising, marketing, and promotion of tea and related products;
 13
                    b.    Using in any way any other mark or designation so similar to the
 14
            SPIRIT TEA mark as to be likely to cause confusion, mistake, and/or
 15
            deception as to an affiliation, connection, sponsorship, or endorsement of
 16
            Defendant and/or its products or services by or with Plaintiff;
 17
                    c.    Representing or implying that Defendant is any way sponsored
 18
            by, affiliated with, endorsed by, or licensed by Plaintiff;
 19
                    d.    Using any words, names, designs, titles, or marks that create a
 20         likelihood of injury to the business reputation of Plaintiff and the goodwill
 21         associated therewith.
 22         2.     For an order requiring Defendant to deliver to Plaintiff’s attorneys
 23   within thirty (30) days after entry of any injunction, to be impounded or destroyed
 24   by Plaintiff, all graphics, literature, signs, labels, prints, packages, wrappers,
 25   containers, advertising, and promotional materials, products and any other written
 26   materials or items in Defendant’s possession or control that bear the aforesaid
 27   infringing mark, together with all means and materials for making or reproducing
 28   the same.
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                                           COMPLAINT
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  1          3.     For an order requiring Defendant to file with the Clerk of this Court

  2   and serve Plaintiff, within thirty (30) days after entry of any preliminary or

  3
      permanent injunction, a report in writing, under oath, setting forth in detail the
      manner and form in which Defendant has complied with 1 and 2 above.
  4
             4.     For an order requiring Defendant to abandon the ‘517 Application.
  5
             5.     For an award of Defendant’s profits and Plaintiff’s damages according
  6
      to proof at trial.
  7
             6.     For an order requiring Defendant to account for and pay to Plaintiff all
  8
      gains, profits, and advantages derived by Defendant from the unlawful activities
  9
      alleged herein and/or as a result of unjust enrichment.
 10
             7.     For an award of pre- and post-judgment interest at the highest rate
 11
      allowed by law.
 12
             8.     For an award of Plaintiff’s attorneys’ fees, costs, and expenses,
 13
      including but not limited to expert witness fees, incurred in this action.
 14
             9.     Plaintiff further seeks a temporary restraining order and preliminary
 15
      injunction of the nature, and for the reasons, discussed in Plaintiff’s forthcoming
 16
      Motion for Temporary Restraining Order and Preliminary Injunction.
 17
             10.    For such further relief as this Court shall deem just and proper.
 18
 19

 20   Dated: June 18, 2019
                                  Respectfully submitted,
 21                               HACKLER DAGHIGHIAN MARTINO & NOVAK
 22                               /s/Paul Novak
                                  PAUL NOVAK, ESQ.
 23
                                  Attorneys for Plaintiff: SPIRIT TEA LLC
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                                            COMPLAINT
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   1                             DEMAND FOR JURY TRIAL
   2         Pursuant to Fed. R. Civ. P. 38(b), Plaintiff demands a trial by jury of all
   3   issues raised by this Complaint which are triable by jury.
   4
       Dated: June 18, 2019
   5                              Respectfully submitted,
                                  HACKLER DAGHIGHIAN MARTINO & NOVAK
   6
                                  /s/Paul Novak
   7                              PAUL NOVAK, ESQ.
   8                              Attorneys for Plaintiff: SPIRIT TEA LLC
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                                           COMPLAINT
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